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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

                                             §
THE DAILY WIRE, LLC, et al.,                 §
                                             §
         Plaintiffs,                         §
                                             §
v.                                           §    Case No. 6:23-cv-609-JDK
                                             §
UNITED STATES DEPARTMENT OF                  §
STATE, et al.,                               §
                                             §
         Defendants.                         §

          ORDER GRANTING TEMPORARY SUSPENSION OF DEADLINE
          Before the Court is Defendants’ motion to temporarily suspend deadline to

 answer the complaint “in light of the parties’ forthcoming Rule 26(f) conference and

 Rule 16(b) submission proposing a schedule” for the case.        Docket No. 57 at 1.

 Plaintiffs do not oppose the motion. Id.

          Accordingly, the Court finds that good cause exists to temporarily suspend

 the deadline for Defendants to answer pending entry of a scheduling order in this

 case. The motion is hereby GRANTED.

          Also before the Court are three motions for leave to file excess pages. Docket

 Nos. 31, 42, 44. The Court hereby GRANTS the motions.

           So ORDERED and SIGNED this 20th day of May, 2024.



                                             ___________________________________
                                             JEREMY D. KERNODLE
                                             UNITED STATES DISTRICT JUDGE




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